

People v Swick (2018 NY Slip Op 03080)





People v Swick


2018 NY Slip Op 03080


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018

PRESENT: WHALEN, P.J., SMITH, LINDLEY, NEMOYER, AND CURRAN, JJ. (Filed Apr. 27, 2018.) 


MOTION NO. (1273/17) KA 16-00563.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vCHRISTOPHER SWICK, DEFENDANT-APPELLANT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for reargument denied.








